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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

John A. Scatchell
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−01045
                                                          Honorable Gary Feinerman
Villlage of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 9, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Pursuant to Second
Amended General Order 20−0012, the 4/21/2020 status hearing [24] is stricken and re−set
for 5/20/2020 at 9:00 a.m. In the meantime, if any party wishes to present a scheduling or
other issue or question to the court, that party should send an email to the Courtroom
Deputy (Jackie_Deanes@ilnd.uscourts.gov) and the proposed order email box
(Proposed_Order_Feinerman@ilnd.uscourts.gov), with a copy to all other counsel, and the
court will respond as soon as practicable. If any party wishes to extend, shorten, or revoke
in a particular case the filing extensions granted by Paragraph 2 of Second Amended
General Order 20−0012, that party shall file a motion on the case docket and shall indicate
in the motion whether the relief sought is agreed or opposed. Parties may file other
non−emergency motions on the case docket as they see fit. Emergency relief in any case,
or emergency relief from Second Amended General Order 20−0012, shall be sought in the
manner set forth in Paragraphs 5−6 of Second Amended General Order 20−0012.Mailed
notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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